EXH;BIT _B_

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

Chapter ll
In re:
Case No. 18~11625 (KJC)
TINTRI, n\IC.,1
Related Docket No. ___~

Debtor.

 

 

ORDER AUTHORIZING THE DEBTOR (A) T 0 REJECT NONRESIDENTIAL REAL
PR()PERTY LEASE AND ABANDON ANY PERSONAL PROPERTY LOCATED AT
SUCH PREMISES AND (B) FIXING A BAR DATE FOR CLAIMS OF LANDL()RD

Upon consideration of the motion (the “_l\;l_<_)t__imi”)2 of the above-captioned debtor
and debtor in possession (the “I_)_€i)_to_r”) for the entry of an order pursuant to sections 365 and
544 of the Banl<ruptcy Code and Bankruptcy Rules 3003, 6006, and 6007 (a) authorizing the
Debtor to reject that certain Lease Agreement (the “Re]'ected Lease”) by and between Ravendale
Partners, LLC (the “Landlord”) and the Debtor, effective as of September 30, 2018 at ll:59 p.m.
(Pacific Time) (the “Reiection Effective Date”); (b) authorizing the Debtor to abandon any
remaining personal property located at the Leased Premises (the “Remaining Personal
l)n)~perty”); and (c) fixing a bar date for claims, if any, of the Landlord arising out of such
rejection (the “Bar Date”); and it appearing that this Court has jurisdiction over this matter
pursuant to 28 U.S.C. §§ 15 7 and 1334; and it appearing that this proceeding is a core proceeding
pursuant to"28 U.S.C. §§ 1408 and 1409; and adequate notice of the l\/Iotion having been given;
and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

l. The l\/Iotion is GRANTED as set forth herein.

 

l The last four digits of the Debtor’s federal taxpayer identification number are 6978. The Debtor’s service
address is: 303 Ravendale Drive, Mountain View, CA 94043.

2 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.

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2. Pursuant to section 365 of the Bankruptcy Code, the Rejected Lease is
deemed rejected effective as of September 30, 2018 at 11:59 p.m. (Paciiic Time).

3. The Debtor is hereby authorized to abandon any Remaining Personal
Property at the Leased Premises effective as of September 30, 2018 at 11:59 p.m. (Pacific Time).

4. The Debtor Will serve this Order on the Landlord Within three (3) business
days after entry of this Order.

5. TWenty-One (21) days after the entry of this Order is hereby fixed as the
Bar Date by Which the Landlord must tile a claim under section 502 of the Bankruptcy Code or
other claims in connection With the Rej ected Lease or the rejection, breach, or termination of the
Rej ected Lease, failing Which such claim shall be forever barred.

6. The Debtor reserves all rights to contest any such rejection damage claims
on any basis and does not Waive any claims that it may have against the Landlord, Whether or not
such claims are related to the Rejected Lease.

7. The Court shall retain jurisdiction over any and all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

Dated: October __, 2018

 

HONORABLE KEVIN J. CAREY
UNITED STATES BANKRUPTCY JUDGE

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